                  Case 23-11452-MFW               Doc 772       Filed 04/09/24         Page 1 of 7




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Hartman SPE, LLC,                                         Case No. 23-11452 (MFW)

                        Debtor.1                              Hearing Date: April 24, 2024 at 11:30 a.m. (Eastern Time)
                                                              Objection Deadline: April 17, 2024 at 4:00 p.m. (Eastern Time)



        REORGANIZED DEBTOR’S MOTION PURSUANT TO FEDERAL RULE OF
      BANKRUPTCY PROCEDURE 9006(b) FOR AN ORDER FURTHER EXTENDING
       THE TIME TO FILE NOTICES OF REMOVAL OF RELATED PROCEEDINGS

             Hartman SPE, LLC, the above-captioned debtor, as reorganized (the “Reorganized

Debtor”), hereby moves this Court (the “Motion”) for an order, substantially in the form attached

hereto as Exhibit A (the “Order”), further extending the Reorganized Debtor’s time to file notices

or motions for removal of related proceedings pursuant to 28 U.S.C. § 1452 and Rules 9006 and

9027 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), through and

including July 9, 2024. In support of this Motion, the Reorganized Debtor respectfully represents

as follows:

                                                 JURISDICTION

             1.    The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334, and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012 (the “Amended Standing Order”). This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue of the Chapter 11 Case and this Motion is

proper in this District under 28 U.S.C. §§ 1408 and 1409.


1
      The Reorganized Debtor in this chapter 11 case, along with the last four digits of its federal tax identification
      number, is Hartman SPE, LLC (7400). The Reorganized Debtor’s principal place of business and service address
      is 2909 Hillcroft, Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the
      United States Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Reorganized
      Debtor’s Claim Agent’s website https://dm.epiq11.com/HartmanSPE.
                       Case 23-11452-MFW        Doc 772      Filed 04/09/24     Page 2 of 7




          2.           Pursuant to Bankruptcy Rule 7008 and Local Rule 9013-1(f), the Reorganized

Debtor consents to the entry of a final order by the Court in connection with this Motion to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection therewith consistent with Article III of the United States

Constitution.

          3.           The statutory bases for the relief requested herein are 28 U.S.C. § 1452. The relief

is also appropriate under Bankruptcy Rules 9006(b) and 9027, and Local Rules 9006-1 and 9006-

2.

                                                BACKGROUND

A.        GENERAL BACKGROUND.

          4.           On September 13, 2023 (the “Petition Date”), the Reorganized Debtor filed a

voluntary petition with the United States Bankruptcy Court for the District of Delaware under

Chapter 11 of the Bankruptcy Code, commencing the above-captioned case (the “Chapter 11

Case”).

          5.           On September 22, 2023, the United States Trustee appointed an official committee

of unsecured creditors (the “Committee”) [Docket No. 56]. No trustee or examiner has been

appointed in this Chapter 11 Case.

          6.           On November 28, 2023, the Reorganized Debtor, as debtor in possession, filed the

Debtor’s Motion Pursuant to Federal Rule of Bankruptcy Procedure 9006(b) for an Order

Extending the Time to File Notices of Removal of Related Proceedings [Docket No. 298]. On

January 4, 2023, the Court entered an order extending the removal deadline [Docket No. 406]

through and including April 10, 2024 (the “Current Deadline”).




                                                       -2-
4861-1372-9461, v. 1
                       Case 23-11452-MFW          Doc 772      Filed 04/09/24       Page 3 of 7




          7.           A detailed description of the Reorganized Debtor and its business, including the

facts and circumstances giving rise to the Chapter 11 Case, is set forth in the Second Amended

Combined Disclosure Statement and Chapter 11 Plan of Liquidation of Hartman SPE, LLC

[Docket No. 639] (the “Combined Disclosure Statement and Plan”).

          8.           On February 26, 2024, the Court entered an Order [Docket No. 645] confirming the

Combined Disclosure Statement and Plan. The Effective Date of the Combined Disclosure

Statement and Plan occurred on March 27, 2024 [Docket No. 752].

                                             RELIEF REQUESTED

          9.           By this Motion, the Reorganized Debtor seeks entry of an order, substantially in

the form attached hereto as Exhibit A, extending the time by which it may file notices of removal

for any proceedings that are eligible for removal under section 1452 of the Bankruptcy Code from

the Current Deadline2 by ninety (90) days, through and including July 9, 2024. The Reorganized

Debtor requests that the proposed July 9, 2024 deadline to file removal actions apply to all matters

specified in Bankruptcy Rules 9027(a)(2) and (3).

                                              BASIS FOR RELIEF

          10.          Section 1452 of title 28 of the United States Code governs the removal of pending

civil actions related to bankruptcy cases. Specifically, Section 1452 provides, in pertinent part:

                       A party may remove any claim or cause of action in a civil action
                       other than a proceeding before the United States Tax Court or a civil
                       action by a governmental unit to enforce such governmental unit’s
                       police or regulatory power, to the district court for the district where




2
     The current time period within which the Reorganized Debtor may file any removal notices under Bankruptcy
     Rule 9027(a)(2) expires on April 10, 2024. Pursuant Local Rule 9006-2, the filing of this Motion prior to the
     Current Deadline serves to extend automatically the Current Deadline until such time as the Court rules on this
     Motion. See Del. Bankr. L.R. 9006-2.



                                                         -3-
4861-1372-9461, v. 1
                       Case 23-11452-MFW          Doc 772      Filed 04/09/24     Page 4 of 7




                       such civil action is pending, if such district court has jurisdiction of
                       such claim or cause of action under section 1334 of this title.

28 U.S.C. § 1452(a).

          11.          Bankruptcy Rule 9027 establishes the deadline for filing notices of removal of

claims or causes of action. Bankruptcy Rule 9027(a)(2) provides in pertinent part as follows:

                       If the claim or cause of action in a civil action is pending when a
                       case under the [Bankruptcy] Code is commenced, a notice of
                       removal may be filed [in the bankruptcy court] only within the
                       longest of (A) 90 days after the order for relief in the case under the
                       [Bankruptcy] Code, (B) 30 days after entry of an order terminating
                       a stay, if the claim or cause of action in a civil action has been
                       stayed under § 362 of the [Bankruptcy] Code, or (C) 30 days after
                       a trustee qualifies in a chapter 11 reorganization case but not later
                       than 180 days after the order for relief.

FED. R. BANKR. P. 9027(a)(2). With respect to postpetition actions, Bankruptcy Rule 9027(a)(3)

provides that a notice of removal may be filed

                       only within the shorter of (A) 30 days after receipt, through service
                       or otherwise, of a copy of the initial pleading setting forth the claim
                       or cause of action sought to be removed, or (B) 30 days after receipt
                       of the summons if the initial pleading has been filed with the court
                       but not served with the summons.

FED. R. BANKR. P. 9027(a)(3).

          12.          Finally, Bankruptcy Rule 9006(b)(1) provides that the Court can extend unexpired

time periods, including the removal period in Bankruptcy Rule 9027, without notice, upon a

showing of cause:

                       [W]hen an act is required or allowed to be done at or within a
                       specified period by these rules or by a notice given thereunder or by
                       order of court, the court for cause shown may at any time in its
                       discretion . . . with or without motion or notice order the period
                       enlarged if the request therefor is made before the expiration of the
                       period originally prescribed or as extended by a previous order . . . .

FED. R. BANKR. P. 9006(b)(1).



                                                         -4-
4861-1372-9461, v. 1
                       Case 23-11452-MFW         Doc 772      Filed 04/09/24      Page 5 of 7




          13.          It is well settled that this Court is authorized to extend the removal periods provided

under Bankruptcy Rule 9027. See, e.g., Pacor, Inc. v. Higgins, 743 F.2d 984, 996 n.17 (3d Cir.

1984) (stating that under Bankruptcy Rule 9006(b), “it is clear that the court may grant such an

extension [of time to remove]”), effectively overruled in part on other grounds by Things

Remembered, Inc. v. Petrarca, 516 U.S. 124 (1995); Caperton v. A.T. Massey Coal Co., 251 B.R.

322, 325 (S.D. W.Va. 2000) (explaining that Bankruptcy Rule 9006(b) allows a court to enlarge

the time period for removing actions under Bankruptcy Rule 9027); Jandous Elec. Constr. Corp.

v. City of New York (In re Jandous Elec. Constr. Corp.), 106 B.R. 48, 49-50 (Bankr. S.D.N.Y.

1989) (stating that the removal period may be extended under Bankruptcy Rule 9006); Saint

Joseph’s Hosp. v. Dep’t of Pub. Welfare of Pa. (In re Saint Joseph’s Hosp.), 103 B.R. 643, 648

(Bankr. E.D. Pa. 1989) (extending the 90-day time period in which to seek removal of pending

state court litigation); In re World Fin. Servs. Ctr. Inc., 81 B.R. 33, 39 (Bankr. S.D. Cal. 1987)

(stating that the court may enlarge the time period for filing removal notices under Bankruptcy

Rule 9027(a)(3)).

          14.           The Reorganized Debtor is a party to various civil lawsuits and proceedings and is

evaluating whether it may seek to remove certain of these actions. Since the commencement of

this Chapter 11 Case, the Reorganized Debtor, as debtor in possession, focused its limited

resources on numerous pressing matters associated with (i) administering its bankruptcy estate,

including filing its schedules of assets and liabilities and statements of financial affairs; (ii)

stabilizing and maintaining operations; (iii) formulating, negotiating and filing the Combined

Disclosure Statement and Plan, including obtaining exit financing; and (iv) administering claims.

Consequently, the Reorganized Debtor has had insufficient time to properly analyze whether

removing any civil actions is in the best interests of its estate, and the Reorganized Debtor requires



                                                        -5-
4861-1372-9461, v. 1
                       Case 23-11452-MFW       Doc 772     Filed 04/09/24   Page 6 of 7




a reasonable amount of additional time to complete the evaluation of whether removal is

appropriate in any litigation matter.

          15.          Accordingly, the Reorganized Debtor seeks a further extension of the Current

Deadline under Bankruptcy Rule 9027(a) to protect its rights to remove those civil actions for

which the Debtor may determine that removal is appropriate. The extension sought will afford

the Reorganized Debtor additional time to determine whether to remove any pending civil action

and will ensure that the Reorganized Debtor does not forfeit valuable rights under section 1452 of

the Bankruptcy Code. Critically, the rights of other parties to the relevant litigation will not be

prejudiced by the extension, because any party to an action that is removed may seek to have the

litigation remanded to the state court pursuant to section 1452(b) of the Bankruptcy Code.

          16.          The Reorganized Debtor further requests that the Order approving this Motion be

without prejudice to any rights the Reorganized Debtor holds, including its right to seek further

extensions of the period during which it may removal civil actions pursuant to Bankruptcy Rule

9027.

          17.          The Reorganized Debtor submits that cause exists to grant the relief requested

herein. Furthermore, the relief is appropriate and similar to granted relief for extensions of the

removal period in other chapter 11 cases in this jurisdiction. See, e.g., In re F+W Media, Inc., No.

19-10479 (KG) (Bankr. D. Del. June 12, 2019); In re Samuels Jewelers, Inc., No. 18-11818 (KJC)

(Bankr. D. Del. Nov. 26, 2018); In re J&M Sales Inc., No. 18-11801 (LSS) (Bankr. D. Del. Nov.

13, 2018); In re New MACH Gen, LLC, No. 18-11368 (MFW) (Bankr. D. Del. Sept. 26, 2018); In

re The Rockport Company, LLC, No. 18-11145 (LSS) (Bankr. D. Del. Aug. 22, 2018).




                                                     -6-
4861-1372-9461, v. 1
                       Case 23-11452-MFW       Doc 772     Filed 04/09/24     Page 7 of 7




                                    NOTICE AND NO PRIOR NOTICE

          18.          Notice of this Motion shall be provided to: (i) the Office of the United States

Trustee; (ii) counsel to the Committee; and (iii) all persons and entities that have filed a request

for service of filings in this Chapter 11 Case pursuant to Bankruptcy Rule 2002. In light of the

nature of the relief requested herein, the Reorganized Debtor submits that no other or further notice

is necessary.

          WHEREFORE, the Reorganized Debtor respectfully requests that the Court: (i) grant the

relief requested in the Motion; and (ii) grant such further relief as is just and proper.

 Dated: April 9, 2024                                    /s/ Mark D. Olivere
        Wilmington, Delaware                             William E. Chipman, Jr. (No. 3818)
                                                         Mark D. Olivere (No. 4291)
                                                         CHIPMAN BROWN CICERO & COLE, LLP
                                                         Hercules Plaza
                                                         1313 North Market Street, Suite 5400
                                                         Wilmington, Delaware 19801
                                                         Telephone: (302) 295-0191
                                                         Facsimile: (302) 295-0199
                                                         Email: chipman@chipmanbrown.com
                                                                olivere@chipmanbrown.com

                                                                - and -

                                                         John E. Mitchell (admitted pro hac vice)
                                                         Michaela C. Crocker (admitted pro hac vice)
                                                         Yelena E. Archiyan (admitted pro hac vice)
                                                         KATTEN MUCHIN ROSENMAN LLP
                                                         2121 North Pearl St., Suite 1100
                                                         Dallas, Texas 75201
                                                         Telephone: (214) 765-3600
                                                         Facsimile: (214) 765-3602
                                                         Email: john.mitchell@katten.com
                                                                 michaela.crocker@katten.com
                                                                 yelena.archiyan@katten.com

                                                         Counsel to the Debtor and Debtor in Possession




                                                     -7-
4861-1372-9461, v. 1
